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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                 CASE NO. 3:18cr108/MCR

DEWAYNE ANTHONY MARION
_______________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, DEWAYNE ANTHONY MARION, to Counts ONE and THREE of

the superseding indictment is hereby ACCEPTED. All parties shall appear before

this Court for sentencing as directed.

      DONE and ORDERED this 1st day of November 2019.



                                         s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE
